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IN THE UNITED STATES DISTRICT C()URT

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FOR THE WESTERN DISTRICT OF TENNESSEE "3'\ 655
EASTERN DlvlsIoN 0 ,Q, §§ <fi
JoN sTEPHEN BALLARD, '¢.:;f;:;"fT-, ,,
// ",‘,, §§
Plaimiff, ‘¢'»;§5@.€§, ';¢ '
esa 0
vs. No. 05-1034-T/An -/`

TOMMY RILEY, ET AL.,

Defendants.

 

ORDER GRANTING LEAVE TO PROCEED § FORMA PAUPERIS
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
ORDER DENYING LEAVE TO PROCEED ON APPEAL _IN FORMA PAUPERIS
AND
NOTICE OF APPELLATE FILING FEE

 

 

Plaintiff J on Stephen Ballard, Who is currently a resident of Collierville, Tennessee,
filed a m s_e_ complaint pursuant to 42 U.S.C. § 1983 on February 9, 2005, along with an
affidavit seeking leave to proceed in m pam. Based on the information set forth in
the plaintiff’s affidavit, the motion to proceed i_n fb_rr_n_a M§ is GRANTED. The Clerk
shall record the defendants as McNairy County SheriffTornmy Riley, Bob Gilbert, and Gene
Gilbert. Bob Gilbert is apparently the plaintiff"s landlord, and Gene Gilbert is apparently
related to Bob Gilbert.

The factual allegations of` the complaint consist, in their entirety, of the following:

Sheriff Riley has some good police officers but he says “he can do what he
wants[.”] Defendants stole some of my checks Home Bank Selmer Tn[.] In

This document entered on the docket sheet In compliance
with nme ss andlor 79 (a) FRcP on 0 0 5 5

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Fall 2001 l found out I had osteomylitis & Degenerative Spine Disease (+
other)[.] My Wife got tired of taking care of a disabled person, she brought
marijuana into the house & an arrest W/no warrant ensued. I’ll try to be brief
here and supplement later due to duress. Yesterday my landlord was
arrested[.] He was stating he was going to kill me. His children had been
smoking crack outside my Window for 2 wks. He attempted to resist arrest,
the officer said he would testify for me[.] The two days prior to that l had to
call 911 numerous times[.] The night before the arrest l called 911 but my
landlord said he knew the policeman on duty and the officer told me to Wait
til the morning to call so I did. The officer arrested Bob and Bob told the
officer all this. (Most of it[.]) The officer said he would fill the report out to
the “T”[.]

In the margin, the plaintiff alleged that “Bob & Gene said they wanted to break in my house
and take my van[.] This is also in the several police repts over last 5 days[.] Check it out
and you should be able to find out unless Sheriff Riley has altered or destroyed like he did
for the female inmate Who got pregnant Fall 2004[.] Check Reports!”

The prayer for relief provides:

$200,000,000

Press charges under RICO for conspiracy to commit murder, aggravated

burgulary [sic], invasion of privacy (illegally planted “bugs” based on

doctored tape (also documented see dates on bugging EQ, cf. to Court Order,

see police reports[)).] I found several bugs in light fixtures etc., and maybe

this sounds crazy but l am finding out if I have one in my glasses or teeth.

They wanted to first put me in Jail due to Bob’s children being arrested for

crack cocaine in my van somewhere, When I found out, they wanted to kill me

because the officer said I can sue and he would too. I AM! !!

The Court is required to screen _i_n forma pauperis complaints and to dismiss any

complaint, or any portion thereof, if the action-

(i) is frivolous or malicious;
(ii) fails to state a claim on which relief may be granted; or

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(iii) seeks monetary relief against a defendant who is immune from such
relief.

28 U.S.C. § 1915(e)(2). Plaintiff`s complaint is subject to dismissal in its entirety.

As a preliminary matter, plaintiff’ s complaint fails to comply with Rule 8(a)(2) of the
F ederal Rules of Civil Procedure, which provides, in relevant part, that “[a] pleading which
sets forth a claim for relief . . . shall contain . . . a short and plain statement of the claim
showing that the pleader is entitled to relief.” The Sixth Circuit has emphasized that “[a]

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complaint must contain either direct or inferential allegations respecting all the material

 

elements to sustain a recovery under some viable legal theory.”’ Mitchell v. Community
Care Fellowship, 8 Fed. Appx. 512 (6th Cir. May l, 2001) (emphasis in original; citation
omitted).

The allegations in this complaint wholly fail to satisfy the requirements of Rule
8(a)(2). As previously mentioned, the Court assumes that defendant Bob Gilbert is the
plaintiffs landlord, but the complaint does not specifically say so. The complaint also does
not identify Gene Gilbert or explain why the plaintiff is suing him. Moreover, the complaint
does not clearly allege what the Gilberts were doing to the plaintiff and why Sheriff Riley
is responsible for the actions of the Gilberts. Although it is conceivable that the claim
against SheriffRiley is based on the failure of some police officer to respond adequately to
the plaintiffs calls, the complaint does not specifically say so and does not allege that the
plaintiff was damaged because of the alleged delay in arresting Bob Gilbert. Finally, in light

of the fact that Bob Gilbert was apparently arrested, it is not clear why the plaintiff is filing

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a civil complaint in order to ensure that Bob Gilbert is criminally prosecuted

The Court ordinarily would order the plaintiff to amend his complaint to comply with
the Federai Rules of Civil Procedure. Such a course is, however, unavailable When a Court
is screening a complaint pursuant to 28 U.S.C. § 1915(e)(2)(B). McGore v. Wrigglesworth,
114 F.3d 601, 612 (6th Cir. 1997). Under these circumstances, the appropriate course is to
dismiss the complaint without prejudice to the plaintiffs right to commence a new action
concerning the same subject matter, so long as the new complaint is in compliance with the
Federal Rules of Civil Procedure.

In order to preclude the commencement of meritless litigation, however, certain
aspects of the plaintiff s complaint are not legally cognizable First, the complaint contains
no factual allegations concerning defendants Riley and Gene Gilbert. When a plaintiff
completely fails to allege any action by a defendant, it necessarily “appears beyond doubt
that the plaintiff can prove no set of facts which would entitle him to relief.” Spruyjte v.

Walters, 753 F.Zd 498, 500 (6th Cir. 1985).

 

Second, in order to state a § 1983 claim, plaintiff must allege action under color of
state law. West v. Atkins, 487 U.S. 42, 55-57 (1988). “A § 1983 plaintiff may not sue
purely private parties.” Brotherton v. Cleveland, 173 F.3d 552, 567 (6th Cir. 1999). Thus,
“[i]n order to be subject to suit under § 1983 claim, defendant’s actions must be fairly
attributable to the state.” Collyer v. Darling, 98 F.3d 211, 231-32 (6th Cir. 1997). The

complaint provides no basis for state action in the conduct of defendants Bob Gilbert and

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Gene Gilbert, Who are apparently not state employees

Third, plaintiff has no constitutional claim based on the alleged failures of the police
officers adequately to investigate his complaints. DeShaney v. Winnebago County Dep’t
ofSoc. Servs., 489 U.S. 189, 195 (1989); Smith v. Jackson, No. 93-3 052, 1993 WL 241816
(6th Cir. July 2, 1993) (affirming dismissal of claim that police and social worker failed to
investigate alleged sexual abuse of child); Langworthy v. Dean, 37 F. Supp. 2d 417, 422-23
(D. Md. 1999) (holding that “there is not a clearly established constitutional right to have
claims of criminal activity by a private actor investigated”; collecting cases); Joy v. Cit_y of
gam, No. C-3-90-132, 1991 WL 1092505, at *8 (S.D. Ohio June 28, 1991) (“One does
not have a constitutional right to have a police investigation conducted in a particular
manner, or to have one conducted at all."); Doe v. Mavor & Citv Council of Pokomoke Citv.
745 F. Supp. 1137, 1139 (D. Md. 1990); Crawford v. Lane, No. 85 C 10510, 1988 WL
23 799, at *1 (N.D. Ill. Mar. 9, 1988); M, 565 F. Supp. at 252, aff’d mem., 796 F.2d 474
(4th Cir. 1986).

Fourth, to the extent the complaint can be construed as seeking the filing of criminal
charges against the Gilberts,l the Court is unable to afford that relief. The First Amendment
right of access to the courts does not encompass a right of access to the criminal courts or
to initiate a prosecution. Mooneyhan v. Hawkins, No. 96-6135, 1997 WL 685423 at * 7

(6th Cir. oct 29, 1997) (ciring Linda R. s. v. nicth D., 410 U.s. 614, 619 (1973)). “[A]

 

l It is not clear whether the complaint also seeks the filing of criminal charges against defendant Riley.

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private citizen lacks a judicially cognizable interest in the prosecution or nonprosecution of
another.” Linda R. S. v. Richard D., 410 U.S. at 619. This Court cannot compel the district
attorney to commence a criminal investigation or to file criminal charges against the
defendants because prosecutors, not j udges, are authorized to institute criminal proceedings

Finally, defendant Riley cannot be held responsible solely on the basis of his position
as sheriff of McNairy County. There is no respondeat superior liability under § 1983.
Bellamy v. Bradley, 729 F.2d 416, 421 (6th Cir. 1984). Instead,

[t]here must be a showing that the supervisor encouraged the specific instance

of misconduct or in some other Way directly participated in it. At a minimum,

a § 1983 plaintiff must show that a supervisory official at least implicitly

authorized, approved or knowingly acquiesced in the unconstitutional conduct

of the offending subordinates
I_d. (citation omitted). A supervisory official who is aware of the unconstitutional conduct
of his subordinates yet fails to act generally cannot be held liable in his individual capacity.
Shehee v. Luttrell, 199 F.3d 295, 300 (6th Cir. 1999); Lillard v. Shele Countv Bd. of
E_dtL, 76 F.3d 716, 727-28 (6th Cir. 1996). In this case, the complaint is devoid of
allegations that defendant Riley “at least implicitly authorized, approved or knowingly
acquiesced in the unconstitutional conduct of the offending subordinates,” Mnm 729
F.2d at 421, or that the allegedly unconstitutional conduct described in the complaint was
the direct result of a failure by defendant Riley to perform a function he was legally

obligated to perform, Doe v. Claiborne County. Tennessee, 103 F.3d 495, 511-12 (6th Cir.

1996). Accordingly, even if it is assumed that the police officers on duty did not properly

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respond to plaintiffs calls to 911, defendant Riley is not liable to the plaintiff

F or all the foregoing reasons, the Court DISMISSES the complaint, in its entirety,
pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii) and Fed. R. Civ. P. 8(a)(2).

The final issue to be addressed is whether the plaintiff should be allowed to appeal
this decision i_n m pa_um, should he choose to do so. Pursuant to the Federal Rules
of Appellate Procedure, a non-prisoner desiring to proceed on appeal i_n f_orM M must
seek pauper status under Fed. R. App. P. 24(a). E Callihan v. Schneider, 178 F.3d 800,
803-04 (6th Cir. 1999). However, Rule 24(a)(3) provides that if a party Was permitted to
proceed in E)_r_r_na Mi§ in the district court, he may also proceed on appeal i_n m
pa_u}m without further authorization unless the district court “certifies that the appeal is
not taken in good faith or finds that the party is not otherwise entitled to proceed i_n mt
pa_uMis.” If the district court denies pauper status, the party may file a motion to proceed
i_n m M, along with a supporting affidavit, in the Court of Appeals. Fed. R. App.
P. 24(a)(4)-(5).

The good faith standard is an objective one. Copr_)edge v. United States, 369 U.S.
43 8, 445 (1962). An appeal is not taken in good faith if the issue presented is frivolous I_d.
lt would be inconsistent for a district court to determine that a complaint does not warrant
service on the defendants, yet has sufficient merit to support an appeal i_n forma paul§l§.
M Williams v. Kullman, 722 F.2d 1048, 1050 n.l (2d Cir. 1983). The same considerations

that lead the Court to dismiss the complaint also compel the conclusion that an appeal would

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not be taken in good faith.
lt is therefore CERTIFIED, pursuant to Fed. R. App. P. 24(a), that any appeal in this

matter by the plaintiff is not taken in good faith. Leave to proceed on appeal i_n forma

 

pauperis is, therefore, DENIED. Accordingly, if plaintiff files a notice of appeal, he must
pay the $255 appellate filing fee in full or file a motion to proceed i_n forma pauperis in the
United States Court of Appeals for the Sixth Circuit \;v¢ithin thirty (3 0) days.

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IT IS SO ORDERED this § day of May, 2005.

,Z)QMML

JA D. TODD
UNI ED STATES DISTRICT JUDGE

 

UNIED` 'sAT'TES DITRICT oURT- wETRNDISTCRIT oF ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case l:05-CV-01034 was distributed by fax, mail, or direct printing on
May 10, 2005 to the parties listed.

 

 

.i on Stephen Ballard

c/o Rev. Donald K. Ballard, LTG. USN
683 Wheatley Cove

Collierville, TN 38017

Honorable .i ames Todd
US DISTRICT COURT

